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    In the event that any order is entered in
    this case granting relief from the automatic
    stay to a secured creditor, then the Trustee
    shall make no further disbursements to any
    creditor on account of any secured claim that
    is secured by the subject property, unless
    directed otherwise by further Order of Court.

                                                             FILED
                                                             12/12/18 1:38 pm
  CASE ADMINISTRATOR SHALL SERVE:                            CLERK
       Jodi L. Hause, Esquire
       Paul W. McElrath, Jr., Esquire                        U.S. BANKRUPTCY
       Ronda J. Winnecour, Esquire
                                                             COURT - WDPA
